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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NEW YORK



Tonya Ailor,
            Plaintiff,                                Civil Action No. _________________
v.


NORTHSTAR LOCATION SERVICES,
LLC; and
DOE 1-5,
            Defendants.




                                          COMPLAINT

                                     (Jury Trial Demanded)

       1.      Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15 U.S.C.

1692 et seq. (“FDCPA”).



                                JURISDICTION AND VENUE

       2.      This Court exercises jurisdiction under 15 U.S.C. 1692k and 28 U.S.C. 1331.

This District is of proper venue as Defendants are residents within this District and Defendants

engaged in the activities alleged herein while so residing.




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                                             PARTIES

       3.       Plaintiff, Tonya Ailor (hereinafter “Ms. Ailor” or “Plaintiff”), is a natural person

residing in Newport, Tennessee. Defendant, NORTHSTAR LOCATION SERVICES, LLC

(hereinafter “Defendant”) is a limited liability company believed to maintain its principle place

of business at 4285 Genesee Street in Cheektowaga, New York. Plaintiff is ignorant of the true

names and capacities of the defendants sued herein as DOE 1-5, and therefore sues these

defendants by such fictitious names. Plaintiff will amend this Complaint to allege the true names

and capacities once ascertained. Plaintiff believes and thereon alleges that the fictitiously named

defendants are responsible in some manner for the occurrences herein alleged, and that such

defendants are responsible to Plaintiff for damages and/or monies owed. Defendants

NORTHSTAR LOCATION SERVICES, LLC and DOE 1-5 shall be jointly referred to herein as

“Defendants”.

       4.       Defendants regularly operate as third-party debt collectors and are “debt

collectors” as defined in 15 U.S.C. 1692a.



                                  FACTUAL ALLEGATIONS

       5.       In approximately October of 2011 Defendants began contacting Ms. Ailor at her

work telephone number in an attempt to collect a consumer debt (hereinafter “DEBT”) allegedly

owed by Ms. Ailor.

       6.       The office manager at Ms. Ailor’s place of employment advised Defendants on

two prior occasions not to call Ms. Ailor at work. Defendants continued to call Ms. Ailor at




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work. One such call was made on December 27, 2011, during which time the office manager

advised Defendants yet again to stop calling.

       7.      Defendants’ continued calls were both harassing and embarrassing to Ms. Ailor.

Further, Ms. Ailor was concerned about the effect the calls might have on maintaining her

employment.

       8.      Ms. Ailor, unable to terminate the calls to her work number, retained counsel

with Robert Amador of Centennial Law Offices.



                                     CAUSES OF ACTION

                                            COUNT I

       9.      Plaintiff re-alleges paragraphs 1 through 8, inclusive, and by this reference

incorporate the same as though fully set forth herein. Plaintiff is informed and believes and

herein alleges that Defendants violated 15 U.S.C. 1692c(a)1 and 1692c(a)3 with regards to

Plaintiff by continuing to call Plaintiff at her place of employment after being informed that such

calls to Plaintiff’s work number were prohibited.



                                           COUNT II

       10.     Plaintiff re-alleges paragraphs 1 through 8, inclusive, and by this reference

incorporate the same as though fully set forth herein. Plaintiff is informed and believes and

herein alleges that Defendants violated 15 U.S.C. 1692d by continuing to call Plaintiff at her

place of employment after being informed that such calls to Plaintiff’s work number were

prohibited.



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                                  PRAYER FOR RELIEF

     WHEREFORE, Plaintiff prays judgment against Defendant for recovery as follows:

     1.) For statutory damages in the amount of $1,000 pursuant to 15 U.S.C. 1692k(2);

     2.) For attorney’s fees of $1,755.00 incurred in responding to unlawful collection

     activity;

     3.) For prejudgment interest in an amount to be proved at time of trial;

     4.) For attorney’s fees pursuant to 15 U.S.C. 1692(k)

     5.) For the costs of this lawsuit; and

     6.) For any other and further relief that the court considers proper.



                                       JURY DEMAND



     Plaintiff demands a jury trial.



Date: December 27, 2012


                                              ________________________________________

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